8:07-cr-00426-LSC-TDT         Doc # 152   Filed: 01/22/09     Page 1 of 1 - Page ID # 446




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:07CR426
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
RAISHAUN LAMAR,                              )
                                             )
              Defendant.                     )

       This matter is before the Court on the government’s motion to file a motion under

seal (Filing No. 150).

       IT IS ORDERED:

       1.     The government’s motion to seal (Filing No. 150) is granted; and

       2.     The Clerk is directed to file the consent motion to continue sentencing when

              the motion is presented to the Clerk.

       DATED this 22nd day of January, 2009.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
